PROB 12C                                                                                          February 16, 2022
(06/17)                                                                                           pacts id: 1617071


                                  UNITED STATES DISTRICT COURT
                                            FOR THE
                                SOUTHERN DISTRICT OF CALIFORNIA
                    Petition for Warrant or Summons for Offender Under Supervision


Name of Offender: Michael Alexander Hartsell (English)                        Dkt. No.: 15CR01442-005-JLS
Reg. No.: 50100-298
Name of Sentencing Judicial Officer: The Honorable Janis L. Sammartino, U.S. District Judge
Original Offense: 21 U.S.C. §§ 841(a)(1) and 846, Conspiracy to Distribute Methamphetamine, a Class C felony.
Date of Sentence: May 20, 2016

Sentence: 77 months’ custody; three years’ supervised release. (Special Conditions: Refer to Judgment and
Commitment Order.)
Sentence Reduction: On May 5, 2020-Order granting motion to modify sentence pursuant to 18 U.S.C. §
3582(c)(1)(A)(i). Previously imposed sentence of 77 months is reduced to Time Served, as of May 19, 2020.
Term of supervised release remains unchanged.

Modification: On June 25, 2021, conditions were modified to include the enrollment and completion of a
residential treatment program.

Type of Supervision: Supervised Release           Date Supervision Commenced: May 19, 2020
Asst. U.S. Atty.: Luella M. Caldito               Defense Counsel:      Keith H. Rutman
                                                                        (Appointed)
                                                                        619-237-9072

Prior Violation History: Yes. See prior court correspondence.

                           PETITIONING THE COURT
TO ISSUE A NO-BAIL BENCH WARRANT
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The probation officer believes that the offender has violated the following condition(s) of supervision:
 CONDITION(S)                                        ALLEGATION(S) OF NONCOMPLIANCE


 (Mandatory Condition)                                  1. On or about January 28, 2022, and February 3, 2022,
 The defendant must not illegally possess a                Mr. Michael Alexander Hartsell used a controlled
 controlled substance. The defendant must                  substance, methamphetamine, as evidenced by his
 refrain from any unlawful use of a                        admission to the probation officer on February 7,
 controlled substance. Submit to one drug                  2022.
 test within 15 days of release from
 imprisonment and at least two periodic                 2. On or about October 25, 2021, and December 13,
 drug tests thereafter. Testing requirements               2021, Mr. Michael Alexander Hartsell failed to
 will not exceed submission of more than                   comply with drug testing requirements as instructed
 four (4) drug tests per month during the                  by the probation office, in that he failed to submit a
 term of supervision, unless otherwise                     urine specimen at Mental Health Systems (MHS), as
 ordered by the court.                                     required.

 (Standard Condition)
 Answer truthfully all inquiries by the
 probation officer and follow the
 instructions of the probation officer.


Grounds for Revocation: As to Allegation 1, Mr. Hartsell reported to the Mental Health System (MHS) on
January 21, 2022, and he submitted a urine specimen which screened positive for amphetamines. When informed
of the positive screen on February 7, 2022, Mr. Hartsell admitted to the probation officer to using
methamphetamine on January 28, 2022, with his last use occurring on February 3, 2022. Laboratory reports
confirmed positive for amphetamine and d-methamphetamine.

As to Allegation 2, I have received and reviewed the Chain of Custody for Drug Analysis form which confirms
that on the above dates, Mr. Hartsell failed to submit urine samples, as required. On June 17, 2020, the probation
officer reviewed written instructions for drug testing with Mr. Hartsell, and he acknowledged receipt of the
instructions with his signature. Specifically, Mr. Hartsell was instructed to call the drug testing line after 8:15PM
the day before each drug testing day to hear if he was to report for testing, and report for testing if instruction in
the automated testing line. Testing days are Monday through Friday.
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                                 VIOLATION SENTENCING SUMMARY


SUPERVISION ADJUSTMENT
On May 5, 2020, Your Honor granted a motion to modify sentence pursuant to 18 U.S.C. §3582(c)(1)(A)(i)
wherein the previously imposed sentence of 77 months imprisonment was reduced to time served and, as of May
19, 2020, Mr. Hartsell’s supervised release term of three years commenced. One month later in June 2020, Mr.
Hartsell submitted a negative, but dilute urine specimen and in July 2020, he admitted to having regular
unauthorized contact with Ms. Hull. He further admitted to using methamphetamine beginning in June 2020 to
July 2020. He enrolled in outpatient drug treatment; however, in August 2020, he again admitted to
methamphetamine use following a presumptive positive drug test. Despite his participation in outpatient
substance abuse treatment, his drug use continued into October 2020 and his treatment regimen was increased to
intensive outpatient treatment.
As noted in prior correspondence, Your Honor agreed to modify Mr. Hartsell’s conditions to add residential drug
treatment due to his relapse with methamphetamine from May 2021 through June 2021, and he noted he was
using the substance every two to three days. It is noted that Mr. Hartsell enrolled in and completed the Fellowship
Center residential drug treatment program on September 21. 2021. More recently, he submitted two dilute urine
samples on October 14, 2021, and November 9, 2021, and he failed to submit specimens on October 25, 2021,
and December 13, 2021, and he has admitted to continued drug use. Following his most recent use of
methamphetamine, he initially disclaimed using the substance and ultimately admitted to using as he was sick
and thought it would make him feel better. Based on the alleged non-compliance conduct noted above, Mr.
Hartsell again succumbed to his addiction. As such, his time on supervision is characterized as poor.
OFFENDER PERSONAL HISTORY/CHARACTERISTICS
Mr. Hartsell is an unemployed male who resides with his mother in Vista, California. He has various medical
conditions that have hindered him from obtaining and maintaining steady employment. He has provided a doctor’s
note indicating he has not been able to work; however, he shared that he is physically able to find work and
requested enrollment into an outpatient program in order to do so.
Regarding his criminal history, information gleaned from the presentence report reflects that his convictions
appear to be related to his drug use, specifically his methamphetamine addiction, all of which ultimately resulted
in a Criminal History Category IV. It is noted that he has participated and completed the Residential Drug Abuse
Program, (RDAP) followed by one year aftercare services while in BOP. He has previously participated in
outpatient services as well as CRASH residential drug treatment program and then transitioned to Casa Blanca
sober living housing. More recently, he completed the inpatient program at the Fellowship Center, and he insisted
in enrolling into the outpatient program at McAlister.
SENTENCING OPTIONS
CUSTODY
Statutory Provisions: Upon the finding of a violation, the court may modify the conditions of supervision; extend
the term (if less than the maximum authorized term was previously imposed); or revoke the term of supervised
release. 18 U.S.C. § 3583(e)(2) and (3).
If the court revokes supervised release, the maximum term of imprisonment upon revocation is 24 months.
18 U.S.C. § 3583(e)(3).
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USSG Provisions: The allegations (failure to remain drug free and failure to comply with drug testing ) constitute
Grade C violations. USSG §7B1.1(a)(3)(B), p.s.
Upon a finding of a Grade C violation, the court may (A) revoke supervised release; or (B) extend the term and/or
modify the conditions of supervision. USSG §7B1.3(a)(2), p.s.
A Grade C violation with a Criminal History Category IV (determined at the time of sentencing) establishes an
imprisonment range of 6 to 12 months. USSG § 7B1.4, p.s. It is noted that in the case of a Grade C violation,
and where the minimum term of imprisonment determined under USSG §7B1.4, p.s., is at least one month but
not more than six months, the minimum term may be satisfied by (A) a sentence of imprisonment; or (B) a
sentence of imprisonment that includes a term of supervised release with a condition that substitutes community
confinement... for any portion of the minimum term. USSG §7B1.3(c)(1), p.s.
Since “the original sentence was the result of a downward departure ... an upward departure may be warranted”
upon revocation. The court can depart from the available imprisonment range and impose a sentence of up to the
statutory maximum of 24 months. USSG §7B1.4, p.s., comment. (n.4), and 18 U.S.C. § 3583(e)(3).
REIMPOSITION OF SUPERVISED RELEASE
If supervised release is revoked and the offender is required to serve a term of imprisonment, the court can
reimpose supervised release upon release from custody. The length of such a term shall not exceed the term of
supervised release authorized by statute for the offense that resulted in the original term of supervised release,
less any term of imprisonment imposed upon revocation. 18 U.S.C.§ 3583(h).
In this case, the court has the authority to reimpose a term of supervised release of any years up to life, less any
term of imprisonment imposed upon revocation. 18 U.S.C. § 3583(k), and 21 U.S.C. §§ 841, 960.
JUSTIFICATION FOR BENCH WARRANT
In view of Mr. Hartsell’s continued use of methamphetamine, failure to comply with drug testing, and there is
also substantial reason to believe he is continuing to abuse illicit substances, which makes him a danger to himself
and a potential risk to the safety of the community. Therefore, a no-bail bench warrant is recommended to ensure
his appearance before Your Honor.
RECOMMENDATION/JUSTIFICATION
This is Mr. Hartsell’s first formal appearance for his alleged non-compliance before Your Honor. As previously
noted, Mr. Hartsell was afforded multiple opportunities to address his addiction and he has failed to refrain from
using controlled substances. It was hoped that he addressed and maintained his sobriety since his enrollment and
successful completion of his inpatient drug treatment; however, he continues to breach the Court’s trust. He has
been enrolled in the highest frequency of drug testing with the probation office; however, he has not been deterred
from his ongoing drug use. He has been offered probation’s resources and the community resources, but he has
been unsuccessful.
Since the defendant admitted to the alleged new drug use, he was given an option to partake in treatment to which
he enrolled into outpatient treatment with McAlister Institute in Vista, California. The prior court notifications
reflect that the probation office has continued to work with Mr. Hartsell, but it appears that he has again
succumbed to his addiction. It is this officer’s recommendation that Mr. Hartsell’s term of supervised released be
revoked, and he be sentenced to a period of six months (the low-end of the revocation range) in custody, followed
by 18 months of supervised released under the previously imposed conditions with the added condition to enroll
and successfully complete a residential drug treatment program. It is believed the recommended custodial
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sentence is enough to promote future compliance and initiate a period of sobriety. It is also hoped that Mr. Hartsell
avail himself to additional substance abuse and mental health services when he recommences supervision.
 I declare under penalty of perjury that the
 foregoing is true and correct.

 Executed on: February 16, 2022

 Respectfully submitted:                                      Reviewed and approved:
 DANIEL J. KILGORE
 CHIEF PROBATION OFFICER



 by
        Jason Le                                              Ymelda E. Valenzuela
        U.S. Probation Officer                                Supervisory U.S. Probation Officer
        (619) 557-5759
   PROB12CW                                                                                           February 16, 2022



                                     VIOLATION SENTENCING SUMMARY


1. Defendant: Hartsell, Michael Alexander

2. Docket No. (Year-Sequence-Defendant No.): 15CR01442-005-JLS


3. List Each Violation and Determine the Applicable Grade (See USSG § 7B1.1):

                                                                                                  Grade
            Violation(s)
            failure to remain drug free                                                           C
            failure to comply with drug testing                                                   C




4. Most Serious Grade of Violation (See USSG § 7B1.1(b))                                          [      C     ]
5. Criminal History Category (See USSG § 7B1.4(a))                                                [    IV      ]
6. Range of Imprisonment (See USSG § 7B1.4(a))                                          [   6 to 12 months ]


7. Unsatisfied Conditions of Original Sentence: List any restitution, fine, community confinement, home
   detention, or intermittent confinement previously imposed in connection with the sentence for which revocation
   is ordered that remains unpaid or unserved at the time of revocation (See USSG § 7B1.3(d)):

                  Restitution ($)                       Community Confinement
                  Fine ($)                              Home Detention
                  Other                                 Intermittent Confinement
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THE COURT ORDERS:

  X         AGREE. A NO-BAIL BENCH WARRANT BE ISSUED BASED UPON A FINDING OF
            PROBABLE CAUSE TO BRING THE OFFENDER BEFORE THE COURT TO SHOW CAUSE
            WHY SUPERVISED RELEASE SHOULD NOT BE REVOKED FOR THE ALLEGED
            VIOLATIONS. THE PETITION AND THE WARRANT WILL BE SEALED UNTIL THE
            OFFENDER HAS BEEN ARRESTED ON THE WARRANT AND THEN THE PETITION AND
            WARRANT MAY BE UNSEALED. NOTWITHSTANDING THE SEALING, A COPY OF THE
            PETITION AND WARRANT WILL BE GIVEN TO THE U.S. MARSHAL FOR USE BY LAW
            ENFORCEMENT.
            DISAGREE. THE ISSUANCE OF A SUMMONS ORDERING THE OFFENDER TO APPEAR
            BEFORE THE COURT ON ______________________________________, AT ______________,
            TO SHOW CAUSE WHY SUPERVISED RELEASE SHOULD NOT BE REVOKED.

            Other




                                                                        02/17/2022
The Honorable Janis L. Sammartino                                      Date
U.S. District Judge                                                     AH
